Case 3:17-cr-00116-LRH-WGC Document 24-3 Filed 11/01/18 Page 1 of 4




                         EXHIBIT 3
   ORDER 0FIMMIGRA丁 10N JUDGE
                    JUNE 10′         1998
              Case 3:17-cr-00116-LRH-WGC Document 24-3 Filed 11/01/18 Pageゝ2 of 4



                                           II.S, DEPARTMENT OF JISTICE
                            EXEClJTIヽ 電       OFFTCE FOR IMMIGRAT10N REVIEW
                                              IIIMIGRAT10N COURT
                                            606 S01JTH 07JIVE ST。 15TH FT,00R
                                              LOS ANGELES, CA 90014
 In the Matter of:                                          Case No,: A92‑271‑220
 PALOMAR― SANTIA00, REFUG10
                                                        Docket: MIRA r10MA DETENT10N FACILITY
 RESPONDENT                                             TN REMOVATj PR00EEDTNF7S

                                      ORDER OF THE IMMIGRATFON JUDFJE

 llpon the hasis of res,ondent'S admissう ons, T have detertined that the
 responderrt is subject to removal on the charge(3)in the Notjce to Appear.

 Re,spond.ent has ua.cle ner   application for retief fron              r:ernoval.

 It j s HEREBY ORDERED that the responderrt he relnoved from the Uni te6 State,g
 to I*iH(IC0 on the r:harge(,s) cortai.nerl in the Notie.e to
 Appear

Tf you fail to aPpear for retnnval a.t the time arcl place orderecl by the INS,
other than because of exr:ept.ionhl. cir:r:un,glanr:es heyond your r:ontr:ol (such as
seriofl-q illnegs of the alien or death of an irnrediate rela.tive
lrut not incirrrling l.e,ss rrr)flipe1l.ing eirr:urn.stanees), yoll wi.1.1 not, of  the alien,
                                                                                tre eli_gihle
for the following forms of relief for a periorl of ten (10) years after the clate
you were reqrrired t-o appear              for   renoval:
      (   j
        ) vo"luntary departure as provitled for in section z4oB of the
           Imigrat.ion and Nati.onal.ity Act;
      (2) cancellation of renoval a.s provided for in section 24oA of the
           Iamigration anrl. Nationality Aet; and
      (3) .Adjustuent of status" or change of status as provided. for in section
           245, 248 or 249 of the Trmigration anrl Nati.onality Act.




                                                                      Judge
                                                                 Jun lo, 1998
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           Case 3:17-cr-00116-LRH-WGC Document 24-3 Filed 11/01/18 Page 3 of 4

                             CERTIFICAT罵 OF SERVICE̲′    '′




THIS DOCUMENT WAS          BY:   MAIL (M)
TO: [ 1                                                             [↓′
                                                                      lNS
DATEI                            1:擦 li:払 lff嵯
                                             ′́
                                    : ]EOIR…   23′   [              i ]Other




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Fornt BoIR ア … 4T (REMOVAL Order)
        .-                       {-/-.\i---                      )
                                                              「 11/01/18 Page 4 of 4
                 Case
                    z 3:17-cr-00116-LRH-WGC Document 24-3
                                                   Alien   Filed
                                                         Namel″    」。MAR― SANTIAGO, REFUG「 ヒ
Alien        Number   9?-?71-?2Oi

                 LIMITAT10NS ON DISCRET10NARY    RELIEF FOR FAILり RE TO APPEAR

( ) 1. You have been scheduled for a reooval hearing, at the tiue and place
       set forth on the attached sheet,. Failure to appear for this hearlng




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                                                                                                  １ １ ．
       other than because of exceptional circumgtances beyond your control**




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       will result in your being found ineligible for eertain foras of




                                                                                                          も ︑
       relief under the Inmigration and Nationelity Act (see Section A.




                                                                                                              ︑ ﹁．
       below) for a period of ten (10) years after the date of entr:y of the
       final order of renoval.
( ) 2. You have been scheduled. for an asyluo hearing, at the tioe and place
       set forth on the attached notice. Failure to appear for this hearing




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       other than becarrse of exceptional eircumstances beyond your control*'t




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       will result in your being found ineligible for certain forns of rellef




                                                                                                                          ︑   ︑
                under the  Imigration and Nationality Act (see Secti.on a. Below) for a




                                                                                                                              ︑
                                                                                                                              ．
                period of ten (10) years from the date of your scheduled hearing.




                                                                                                                                  ︑
                                                                                                                                  ︑
( )          3. You have been granted voluntary departurq'from Lhe United States
                prrrsuant to sectton 2408 of the lrnrnigration and Nationality Act, and
                reuaining in tAe United Stites beyond the authorized date other than
                because of exceptional circunstarrces beyond your control** wiLl result
                in your being inel.igible for certaln foros of re}ief rrnder the
                Imigration and Nationality Act (see Section A. Below) for ten (10)
                years fron the date of the seheduled departure or the date of unlawful
                reentry, respectively. Yottr voluntary departure bond, if any, will
                also be breached. Arlditionally, if you fail to vol.untarily depart the
                Unjted Sta.tes within the tine period specified, yorl shall be.subject
                to a civl1 penalty of not Ies,s t-han $1OOO and aot nore than $5000.
             4. An order of reooval has been entered against you. ff you fail to
                appear pursuant to a final order of removal at the tiae and place
                ordered by the fNS, other than becauge of, exceptional circuostances
                beyond your eontrol** you wiLl not be ellgible for certain forns of
                relief under the Iunigration and Nationality Act (see Section A.
                below) for ten (10) years after the date you are scheduled to appear.
                *rthe tero "exceptional circrrmstanceg" refers to circumstances such
                as serious illness of the alien or death of an innediate relative
                of the alien, tnrt not lncluding less coupelling circumstances.
A.    THE FORilS OF RETIEF FROM REMOVAL FOR T{HICH YOU WILI, BECOI,IE INEIIGIBI,E ARE:
      1) Voluntary departure as provided for in section ?408 of the
            Imigration and Nationality Act;
      2) CancelLation of reroval as provided for in section 240A of the
            Imnigration and Nationality act; and
      3) ' Adjustnent of stattrs or change of status as provided for in Seetton

                                                                                                                     一
                                                                                                                     一
            245, 248 or 249 of the Imigration and Nationali.ty Act.
       This written notice     provided to the alien in English. 0ra1 notice of
the contentS of this io            口ust be given to the alien in his/her native
language, or in                      she ttllderstands by the rmmigration Judge.
Date: 」un 10, 1
fomigration Judge                                or Court Clerk:
                               CERTIFrCATE OF        CF
THIS DOCUMENT WAS               BY: MAIL (M)
TO:     []                       c/o OuStOdial                                    tA4Ns
DATE:                           BY: COURT
                             FOrR,33 [ ]FOr                        rvice3 List   [ ]Other
                                                                                          V6
